 Case 1:17-cv-00338-RJJ-PJG ECF No. 62 filed 03/28/18 PageID.449 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



GREGORY HARDY,

               Plaintiff,
                                                             CASE NO. 1:17-CV-338
v.
                                                             HON. ROBERT J. JONKER
EAST LANSING POLICE DEPARTMENT,
et al.,

            Defendants.
__________________________________/


                       ORDER APPROVING AND ADOPTING
                  REPORT AND RECOMMENDATION AS CLARIFIED

       The Court has reviewed Magistrate Judge Green’s Report and Recommendation in this

matter (ECF No. 56), Plaintiff’s Objections (ECF No. 57), and Defendant Aero

Communications, Inc.’s (“ACI”) Response (ECF No. 418). Under the Federal Rules of Civil

Procedure, where, as here, a party has objected to portions of a Report and Recommendation,

“[t]he district judge . . . has a duty to reject the magistrate judge’s recommendation unless, on de

novo reconsideration, he or she finds it justified.” 12 WRIGHT, MILLER, & MARCUS, FEDERAL

PRACTICE AND PROCEDURE, § 3070.2, at 451 (3d ed. 2014). Specifically, the Rules provide that:

       The district judge must determine de novo any part of the magistrate judge’s
       disposition that has been properly objected to. The district judge may accept,
       reject, or modify the recommended disposition; receive further evidence; or return
       the matter to the magistrate judge with instructions.

FED. R. CIV. P. 72(b)(3). De novo review in these circumstances requires at least a review of the

evidence before the Magistrate Judge. Hill v. Duriron Co., 656 F.2d 1208, 1215 (6th Cir. 1981).

The Court has reviewed de novo the claims and evidence presented to the Magistrate Judge; the

Report and Recommendation itself; Plaintiff’s objections; and Defendant ACI’s response. The
 Case 1:17-cv-00338-RJJ-PJG ECF No. 62 filed 03/28/18 PageID.450 Page 2 of 3



Court finds the Magistrate Judge’s Report and Recommendation, which recommends dismissing

all of Plaintiff’s claims with prejudice, factually sound and legally correct, with the clarification

that the heading “Proposed Findings of Fact” (ECF No. 56, PageID.400) should simply be

“Plaintiff’s Allegations.” The Court makes no findings of fact.

       In his Objections, Plaintiff does not address the Report and Recommendation’s analysis.

Instead, Plaintiff seeks leave to file an amended complaint and to have counsel appointed.

Plaintiff makes no substantive allegations in his objections that would even arguably bring this

lawsuit within the scope of 42 U.S.C. § 1983.           It is clear from the existing record that

amendment would be futile, and so there is no need to allow and amendment period. The Court

finds no basis to appoint counsel. See Lavado v. Keohane, 993 F.2d 601, 604-605 (6th Cir.

1993) (noting that appointment of counsel for civil litigants is not a constitutional right, but

instead a privilege justified only in exceptional circumstances).

       ACCORDINGLY, IT IS ORDERED:

       1.      The Report and Recommendation of the Magistrate Judge, with the clarification

that the heading “Proposed Findings of Fact” should simply be “Plaintiff’s Allegations” (ECF

No. 56) is APPROVED AND ADOPTED as the opinion of the Court.

       2.      Plaintiff’s request for leave to file an amended complaint and for appointment of

counsel is DENIED.

       3.      Plaintiff’s claims against John and Jane Doe defendants are DISMISSED WITH

PREJUDICE for failure to state a claim under the statutory authority of 28 U.S.C. § 1915.

       4.      Defendants’ motions (ECF Nos. 28, 32, 41, 43) are GRANTED. All of Plantiff’s

claims against defendants are DISMISSED WITH PREJUDICE.




                                                 2
 Case 1:17-cv-00338-RJJ-PJG ECF No. 62 filed 03/28/18 PageID.451 Page 3 of 3



        5.    For the same reasons that the Court dismisses Plaintiff’s claims, the Court

discerns no good-faith basis for an appeal within the meaning of 28 U.S.C. § 1915(a)(3). See

McGore v. Wrigglesworth, 114 F.3d 601, 611 (6th Cir. 1997) (overruled on other grounds by

Jones v. Bock, 549 U.S. 199 (2007)).




Date:    March 28, 2018                   /s/ Robert J. Jonker
                                          ROBERT J. JONKER
                                          CHIEF UNITED STATES DISTRICT JUDGE




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